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                 Exhibit F
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IN REPLY PLEASE QUOTE

Our Ref         : E-Letter/GNM/VMH/ZTW002
Your Ref        : Mr. Moyo


12th January, 2021

The Permanent Secretary
Ministry of Mines and Mining Development
7th Floor, ZIMRE Centre
Cnr L. Takawira/Kwame Nkrumah Ave
HARARE

Dear Sir,


RE: AMAPLATS MAURITIUS LIMITED & ANOTHER AND
    ZIMBABWE MINING DEVELOPMENT CORPORATION AND THE
    CHIEF MINING COMMISSIONER.

We make reference to your correspondence of 18th November, 2020
advising us that a technical committee had been put into place to
URGENTLY attend to our clients’ claim, above.

Regrettably, notwithstanding numerous attempts at follow up, it appears
that there is no real focus or desire to conclude this matter in an amicable
and expeditious manner. Indeed, our clients have questioned the sincerity
of the entire process given the unseeming delays experienced thus far.

It should be noted that on 20th February, 2020, our clients demanded full
settlement of the arbitral award, being the amount of US$67 544 846.65
inclusive of interest as at 31st January, 2020.

In order to expediate settlement of the award, our clients then offered
to discount this amount by writing off total legal fees, awarded in
their favour, in the amount of US$3 120 583; and SIGNIFICANTLY,
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writing off approximately US$17 million in accrued interest to arrive
at the full and final settlement figure of US$50 MILLION.

Our clients’ reasonable expectation was that this discount would serve as
an incentive to rapid settlement and closure of this matter.

It is unfortunate that this discount does not appear to have been taken
seriously at all, let alone even acknowledged.

Consequently, our instructions are to advise you that should a settlement
commitment not be concluded, in writing, by the parties before 31st
January, 2021, our client will proceed to register in the High Court of
Zimbabwe the international arbitration award granted in its favour.

In terms thereof, our clients will seek to enforce the ENTIRE amount so
granted including interest accrued on the award of US$49 902 583.74 at
an interest rate of 5% per annum as reckoned from 12th January, 2014 to
date of payment in full in ADDITION to the legal costs also awarded in
favour in the amount of US$3 120 583 aforesaid.

For the avoidance of doubt, this amount, inclusive of the legal fees
aforesaid, amounts to US$70 489 071 as at 12th January, 2021.

As you may be aware, Zimbabwe is a signatory to the Model Law on
International Commercial Arbitration adopted by the United Nations
Commission on International Trade Law on 21st June, 1985 giving effect
to the Convention on the Recognition and Enforcement of Foreign Arbitral
Awards adopted in New York on 10th June, 1958.

Article 35 of the Model Law, as legislated for in our Arbitration Act, obliges
the Government of Zimbabwe to recognize as binding the arbitration
award in favour of clients, notwithstanding the country in which it was
granted.

The registration of the award in our High Court commences the formal
process for the enforcement of the award as against the Respondents
cited therein, in particular the assets of ZMDC.

In this respect, we highlight the fact that the arbitral award is a ‘Public
Debt’ in terms of the Public Debt Management Act, and has been
acknowledged as such by the Attorney-General.

Further, the Minister of Mines & Mineral Development has, in writing,
recommended the settlement of the discounted debt by Treasury.
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The sentiment that Zimbabwe must honour its international obligations,
particularly international arbitral awards of this nature, should be a
demonstrable example of its mantra that “Zimbabwe is Open for
Business”.

In the circumstances we look forward to settlement of this matter by the
date aforesaid, failure of which our instructions are to proceed to enforce
the entire award without further reference to yourselves.

Please be guided accordingly,


                                     Yours sincerely,




                                  G N Mlotshwa
                                SENIOR PARTNER
                                   TITAN LAW

Cc: The Permanent Secretary
    Finance & Economic Development

    The General Manager, ZMDC

    Client
